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                     UNITED STATES DISTRICT COURT
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     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     RESOLUTE FOREST PRODUCTS, INC., et CASE NO. 3:17-CV-02824-JST
13   al.
               Plaintiffs,              Hon. Jon S. Tigar
14                                      Courtroom 9
               v.
15                                      [PROPOSED] ORDER GRANTING
16   GREENPEACE INTERNATIONAL, et al.   STIPULATION TO SUPPLEMENT
                                        BRIEFING ON MOTIONS TO DISMISS
17             Defendants.              AND STRIKE AND TO SET ORAL
                                        ARGUMENT
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                                      Action Filed: May 31, 2016
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 1          WHEREAS, Plaintiffs Resolute Forest Products, Inc., Resolute FP US, Inc., Resolute FP

 2   Augusta, LLC, Fibrek General Partnership, Fibrek US, Inc., Fibrek International Inc., and

 3   Resolute FP Canada, Inc. (“Plaintiffs”) and Defendants Greenpeace International (aka

 4   Greenpeace Stichting Council) (“GPI”), Greenpeace, Inc., Greenpeace Fund, Inc., Daniel

 5   Brindis, Amy Moas, Matthew Daggett, Rolf Skar and (the “Greenpeace Defendants”) have

 6   stipulated to a schedule for supplemental briefing and oral argument on Defendants’ pending

 7   motions to dismiss and strike (the “Pending Motions”), and good cause appearing therefore,

 8                                                   ORDER

 9          PURSUANT TO STIPULATION, IT IS SO ORDERED.
10         Plaintiffs will file their supplemental brief in further opposition to the Pending Motions

11          by August 8, 2017;

12         Greenpeace Defendants will file their supplemental reply brief in further support of the

13          Pending Motions by August 25, 2017;              September 28, 2017
14         Oral argument on the Pending Motions is set for September 7, 2017 at 2:00 p.m.

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             July 12, 2017
     DATED: ______________________                                _________________________
16                                                                      Hon. Jon S. Tigar
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